 

Anne f MuUtugan

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Ame Drbri era Me by gar

(Enter full name of plaintiff in this action)

 

 

 

 

Case No.
Plaintiff, (To be supplied by Court)
VS,
Awa Le. Sheltle ; COMPLAINT UNDER
THE CIVIL RIGHTS ACT
' 42 U.S.C. § 1983
: (NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use er al.)
Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
~~ assert jurisdiction under any different or additional authorities, please list them below:

 

 

B. Parties

1. Plaintiff This complaint alleges that the civil rights oh Anne PATA Oa rls Ga
(print your name)

who presently resides at D2 pms (OFE 1101 b a PY... Prrenscaye Ak OAsul

(mailing address)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 1t6 Nk nown O04 nes wh le Lorn a /2 is a citizen of

(name)

PA PSAs andis employed as a_tyuntty Wt. VoC0 P42) QWG 16 Ska (he

(state) (defendant's government positionstitle)

This defendant personally participated in causing my injury, and | want money
damages.

OR
X The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 2, is a citizen of
(name)

, and is employed as a

(state) (defendant's government position/title)

 

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

 

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

Defendant No. 3, is a citizen of
(name)

, and is employed as a

(state) (defendant's government position/title)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

 

 

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4," “Claim 5, etc.”),

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Claim 1: On or about 4fy 7/2617 , my civil right to
(Date)
Violadwn of tit pjQAts

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by {ewe Lemale GO Frat AosK

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

 

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Claim 2: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)
was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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a s

Claim 3: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? a Yess No

2. !f your answer is “Yes,” describe each lawsuit.

a. Lawsuit 1:

Plaintif(s). Annne f. mutt: gan

Defendant(s): Jere sneer

Name and location of court: Supe nu (ourt ot Anchorage

Docket number7Z{- A-psaak Name of judge:_ YO bras bbs /

Approximate date case was filed: o a\ a Date of final decision:

 

 

Disposition: _ Dismissed _ __ Appealed _4_ sii pending
Issues Raised: Viola hon of Civil yiaibh, yy Je Crime
b. Lawsuit 2:

Plaintiff(s):

Defendant(s):

 

Name and location of court:

 

 

_.. _.._._ Docket number, Name of judge: _ ce ee
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:
1. Damages in the amount of $ Ad Million Oplla

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2. Punitive damages in the amount of g5O Mill (oh Collen
3. An order requiring defendant(s) to Go t6 JG [rf At) [2th rH fa

4. A declaration thatthe WoWin pe fe mandee- fo {fal

5. Other: Haak the. foc, Shue llc pak. Yo tht hon b> Ne. flanhrys, lop nected

FL emule cll ding Ararlculd rer, Wnt bratur, coe D"
P| inti demands a tial by jury. _] Yes No

 

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
~ that the information contained in the complaint-is true and-eorrect.

 

 

 

 

Executed at Anchota ey. Cy fade on LE 17-201?
f “ (Location) (Date)
flow tr Coc MII corn“
(Plaintiff's OriginalSignature)
(Inncfotn Coe MUM ae Dn 4-i1-20I7
7 Original Signature of Attdtney (if any) (Date)
Berns tree

 

lol & 3F Ave.
Ar Choy @ 9. AK sul

Attorney's Address and Telephone Number

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